

Moses v Dunlop (2021 NY Slip Op 01851)





Moses v Dunlop


2021 NY Slip Op 01851


Decided on March 25, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 25, 2021

Before: Renwick, J.P., Mazzarelli, Singh, González, JJ. 


Index No. 653412/14 Appeal No. 13422-13422A&amp;M-1122 Case No. 2020-01534, 2020-01535 

[*1]Patrick Moses et al., Plaintiffs-Respondents,
vScott Dunlop et al., Defendants-Appellants, Bravo Media LLC etc., et al., Defendants.


Abrams Garfinkel Margolis &amp; Bergson, LLP, New York (Barry G. Margolis of counsel), for appellants.
Johnson Gallagher LLC, New York (Peter J. Gallagher of counsel), for respondents.



Order, Supreme Court, New York County (O. Peter Sherwood, J.), entered January 17, 2020, which directed defendants Scott Dunlop, Dunlop Group and Ventana Ventures Inc. to produce to plaintiffs certain documents during discovery, unanimously affirmed, with costs. Appeal from order, same court and Justice, entered February 11, 2020, which denied defendants' motion for reargument, unanimously dismissed, without costs, as taken from a nonappealable paper.
There is no basis to disturb Supreme Court's disclosure order. The court's ruling concerning 19 disputed documents was not an improvident exercise of discretion, and defendants were not precluded from making arguments concerning whether those documents should be produced (see generally Those Certain Underwriters at Lloyds, London v Occidental Gems, Inc., 11 NY3d 843, 845 [2008]).
M-1122 — Patrick Moses, et al. v Scott Dunlop, et al.
Motion for stay, denied
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 25, 2021








